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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
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                                                      :
MARK C. HOLLENBAUGH,                                  :         CASE NO. 5:05-CV-207
Administrator of the Estate of                        :
Joel Hollenbaugh deceased,                            :
                                                      :
                  Plaintiff,                          :
                                                      :
         vs.                                          :         OPINION & ORDER
                                                      :         [Resolving Doc. 305]
THOMAS G. MAURER,                                     :
SHERIFF, WAYNE COUNTY, et al.,                        :
                                                      :
                  Defendants.                         :
                                                      :
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JAMES S. GWIN, UNITED STATES DISTRICT JUDGE:

        On August 29, 2005, Defendants Thomas G. Maurer, Wayne County, Cheryl A. Noah, Ann

M. Obrecht, Scott Wiggam, Nancy Ott, Patricia Schuler, Louis Johns, Doug Johnson, and Mike

Butler filed four separate motions to strike the expert reports of the following witnesses: (1) R. Paul

McCauley, PhD, BCFE, (2) Burke, Rosen & Associates, (3) Alfred Narraway, DO, FACC, and (4)

Phillip J. Cover, MD. [Docs. 129, 130, 133 & 134.] On September 7, 2005, Defendants City of

Wooster and Scott Rotolo also filed a Motion to Strike the Expert Reports of R. Paul McCauley,

PhD, BCFE, and Burke, Rosen & Associates. [Doc. 156.] Plaintiff opposed all of Defendants’

motions. [Docs. 145, 146, 162]. On October 4, 2005, the Court denied Defendants’ motions to

strike Plaintiff’s expert reports. [Doc. 198.]

        Additionally, on August 31, 2005, Plaintiff filed a Motion for Leave to Supplement Expert

Reports for (1) Burke, Rosen & Associates; (2) Alfred Narraway, DO, FACC; and (3) Phillip J.


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Cover, MD. [Doc. 146.] On September 7, 2005, Defendants opposed the Motion for Leave to

Supplement Expert Reports. [Doc. 155.] On September 27, 2006, the Court marginally denied

Plaintiff’s Motion for Leave to Supplement Expert Reports without prejudice to refiling upon the

return of the case to the Court’s active docket. [Doc. 297.]

         On July 24, 2007, Plaintiff refiled its Motion for Leave to Supplement Expert Reports,

accompanied by an Opposition to Defendants’ Motion to Strike the Expert Reports of Narraway;

Cover, and Burke, Rosen & Associates. [Doc. 305.] On August 7, 2007, Defendants opposed

Plaintiff’s motion.

         Given that the Court previously denied Defendants’ motions to strike Plaintiff’s expert

reports on October 4, 2005, Plaintiff’s Opposition to Defendants’ Motion to Strike Plaintiff’s Expert

Reports is unnecessary. However, the Court hereby GRANTS Plaintiff’s Motion for Leave to

Supplement Expert Reports.

         Fed. R. Civ. P. 26(a)(2) sets forth certain requirements for the submission of expert reports.

Specifically, Rule 26(a)(2)(A) requires each party to disclose the identity of any person who may

be called to provide expert testimony at trial. With regard to any witness who is retained or

specially employed to provide expert testimony or any person who regularly gives expert testimony

as part of his employment with the party, Rule 26(a)(2)(B) further requires the submission of a

written report that is prepared and signed by the witness. The report must contain the following

items:

         a complete statement of all opinions to be expressed and the basis and reasons
         therefor; the data or other information considered by the witness in forming the
         opinions; any exhibits to be used as a summary of or support for the opinions; the
         qualifications of the witness, including a list of all publications authored by the
         witness within the preceding ten years; the compensation to be paid for the study and


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       testimony; and a listing of any other cases in which the witness has testified as an
       expert at trial or by deposition within the preceding four years.

Id.

       Fed. R. Civ. P. 37(c) further provides that “[a] party that without substantial justification fails

to disclose information required by Rule 26(a) . . . is not, unless such failure is harmless, permitted

to use as evidence at a trial, at a hearing, or on a motion any witness or information not so

disclosed.” Thus, if the Court determines that a party’s violation of Rule 26(a) is harmless or

substantially justified, it may allow the party to use the noncomplying expert report as evidence.

See Roberts ex rel. Johnson v. Galen of Virginia, Inc., 325 F.3d 776, 782 (6th Cir. 2003).

       In accordance with the detailed analysis of the Court’s previous order of October 4, 2005,

the Court finds that Plaintiff’s Expert Reports submitted by Narraway; Cover; and Burke, Rosen &

Associates substantially comply with the requirements of Fed. R. Civ. P. 26(a)(2). In addition, the

Court finds that the defects cited by Defendants are minimal and highly technical in nature. As such,

the Court finds that these errors are harmless and easily remedied by permitting Plaintiff to file

supplemental reports.

       The Court also rejects Defendants’ contention that they will be unduly prejudiced by

permitting Plaintiff to file supplemental reports at this time. Plaintiff’s initial motion remained

pending for over a year before being dismissed without prejudice while Defendants took an

interlocutory appeal of the Court’s ruling on Defendants’ Motion for Summary Judgment. Thus,

Defendants have had more than adequate notice of the conclusions advanced by Plaintiff’s experts

and the bases of their opinions. Furthermore, Defendant has shown no prejudice arising from the

fact that Plaintiff waited one month to refile his motion once the case returned to the Court’s active



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docket.

          For all these reasons, the Court GRANTS Plaintiff’s Motion for Leave to Supplement Expert

Reports.

          IT IS SO ORDERED.



Dated: August 27, 2007                                 s/       James S. Gwin
                                                       JAMES S. GWIN
                                                       UNITED STATES DISTRICT JUDGE




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